Case 2:23 -GNFFED STATES DISTRICT COURT, CENTRAL DISTRICT OF CABIFORNIATS !D #:15

CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself [_] )

ROBERT HUNTER BIDEN

DEFENDANTS

( Check box if you are representing yourself [| )

GARRETT ZIEGLER, ICU, LLC and DOES 1-10

(b) County of Residence of First Listed Plaintiff Los Angeles
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

Effingham

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Paul B. Salvaty, Winston & Strawn LLP, 333 S. Grand Ave., Los Angeles, CA 90071
Abbe David Lowell, Winston & Strawn LLP, 1901 L St., N.W. Washington, DC 20036
Bryan M. Sullivan, Early Sullivan Wright Gizer & McRae LLP, 6420 Wilshire Boulevard,
17th FI. Los Angeles, CA 90048

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Il. BASIS OF JURISDICTION (Place an X in one box only.)

1. U.S. Government
Plaintiff

2. U.S. Government
Defendant

3. Federal Question (U.S.
Government Not a Party)

4. Diversity (Indicate Citizenship
of Parties in Item III)

Il, CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

Citizen of This State oo 1 a Incorporated or Principal Place ro 4 Ye 4
of Business in this State

Citizen of Another State [—] 2 [] 2 Incorporated and Principal Place O55
of Business in Another State

Citizen or Subject of a . .

Foreign Country [13 [3 Foreign Nation Ole OJ 6

IV. ORIGIN (Place an X in one box only.)

1. Original
Proceeding

2. Removed from
State Court

O

3. Remanded from
Appellate Court

O

4, Reinstated or
Reopened

O

5. Transferred from Another
District (Specify)

O

6. Multidistrict
Litigation -
Transfer

O

8. Multidistrict
Litigation -
Direct File

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [_] No
CLASS ACTION under F.R.Cv.P. 23:

[_]Yes No

MONEY DEMANDED IN COMPLAINT: $ To be determined

(Check "Yes" only if demanded in complaint.)

VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

Violation of the Computer Fraud and Abuse Act (18 U.S.C. § 1030), Violation of the California Computer Data Access and Fraud Act (Cal. Penal Code § 502), and Violation of

Business and Professions Code §§ 17200 et seq.

Vil. NATURE OF SUIT (Place an X in one box only).

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[] 375 FalseClaims Act |[_] 110 Insurance [] 240 Torts to Land oO 462 Naturalization Habeas Corpus: ] 820 Copyrights
. pplication 463 Alien Detainee
oO 376 Qui Tam [J 120 Marine [] 245 Tort Product U 510 Motions to Vacate | 830 Patent
(31 USC 3729(a)) Liability Ly 465 Other OD eentenee .
L] 130 Miller Act [1 290 All Other Real Immigration Actions entence 835 Patent - Abbreviated
400 State 530G | O sae
O Reapportionment 140 Negotiable Property TORTS CL enera' New Drug Application
CJ 410 Antitrust LI instrument TORTS PERSONAL PROPERTY |L| 535 Death Penalty [1] 840 Trademark
[1] 430 Banks and Banking 150 Recovery of PERSONAL INJURY [| 370 Other Fraud Other: oO 880 Defend Trade Secrets Act
Overpayment & |[7] 310 Airplane . ___ {[L_] 540 Mandamus/Other of 2016 (DTSA)
‘commerce nforcement o i ruth in Lending
oO 450 C ICC Enf tt of 315 Airplane [] 371 Truth in Lend
Rates/Etc. Judgment CI product Liability 380 Other Personal LJ 550 Civil Rights SOCIAL SECURITY |
LO 00 wn . 4 [1] 151 Medicare Act | 320 Assault, Libel & Property Damage |[-] 555 Prison Condition |L] 861 HIA(1395ff)
acketeer Influ- Slander
O enced & Corrupt Org. 152 Recovery of 330 Fed. Employers’ |] 285 Property. Damage 560 Civil Detainee [_] 862 Black Lung (923)
[1] 480 Consumer Credit |[] Defaulted Student |[] Liability ty IT] Conditions of (1) 863 DIWC/DIWW (405 (g))
ies Telephone Loan (Excl. Vet.) . BANKRUPTCY Confinement .
oO Pp L] 340 Marine 422 Appeal 28 FORFEITURE/PENALTY |L_] 864 SSID Title XVI
Consumer Protection Act 153 Recovery of
[1] 490 Cable/sat TV C Overpayment of ||[] Liability Product [1 usc 158 625 Drug Related (1 865 RSI (405 (g))
50 Securities/C Vet. Benefits O 423 Withdrawal 28 LC Seizure of Property 21
850 Securities/Com- . |[ 350 Motor Vehicle USC 157 USC 881 FEDERAL TAX SUITS
LI tmodities/Exchange 160 Stockholders 5
Fy 880 other Statutory |o_ Suits [285 Motor Vehicle CIVILRIGHTS ___|L] 690 Other [ 870 Taxes (US. Plaintiff or
, roduct Liabili Defendant)
Act ivil Ri LABOR
ctions [I] 190 Other [7 360 Other Personal [] 440 Other Civil Rights 871 IRS-Third Party 26 USC
[J 891 Agricultural Acts Contract Injury [1 441 Voting oO 70 Fair Labor Standards| _] 7609
i 195 Contract 362 Personal Injury-
O 603 Environmental LC] product Liability LI Med Malpratice. ¥ [] 442 Employment [| 720 Labor/Mgmt.
895 Freedom of Info. |[-] 196 Franchise 365 Personal injury- |[-] 43 Housing/_ Relations
oO CO abil Accommodations .
Act Product Liability [J 740 Railway Labor Act
‘trati BE nen 367 Health Care/ 445 American with i i
[] 896 Arbitration [ 210 Land [1 Pharmaceutical  Disabilities- Oo 751 Family and Medical
899 Admin. Procedures Condemnation Personal Injury Employment eave Lab
O Act/Review of Appeal of CC 220 Foreclosure Product Liability Oo 446 American with oO ae other abor
Agency Decision 930 Rent L a io 368 Asbestos Disabilities-Other 9
950 Constitutionality of ent Lease P Inj ; 791 Employee Ret. Inc.
Cl State Statutes CO] Ejectment Produicy Liability [] 448 Education Cl Security Act
FOR OFFICE USE ONLY: Case Number:

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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?

L[] Yes

If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

[x] No

STATE CASE WAS PENDING IN THE COUNTY OF;

INITIAL DIVISION IN CACD IS:

[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[_] Orange Southern
[_] Riverside or San Bernardino Eastern

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes [kK] No

If "no, " skip to Question C. If "yes," answer
Question B.1, at right.

B.1, Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

NO. Continue to Question B.2.

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—>

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[] Yes [xk] No

If "no, " skip to Question D. If "yes," answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

NO. Continue to Question C.2.

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

NO. Your case will initially be assigned to the Western Division.

[J Enter "Western" in response to Question E, below, and continue
from there.

A. B. c.
, a Riverside or San Los Angeles, Ventura
. ? ao i
QUESTION D: Location of plaintiffs and defendants? Orange County Bemardino County | Santa Barbara, or San
Luis Obispo County

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district Cl Cl

reside. (Check up to two boxes, or leave blank if none of these choices apply.)

Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.)

O

L LO

D.1. Is there at least one answer in Column A?

[_] Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[X] No

—>

D.2. Is there at least one answer in Column B?

[_] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B,C, or D above: ma

WESTERN

QUESTION F: Northern Counties?

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

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IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [] YES

If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO [1] Yes

Civil cases are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[ ] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): /S/ Paul B. Salvaty DATE: 9/13/2023

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SSID
865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

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